                                                        Notice Recipients
District/Off: 0314−1                              User: AutoDocketer                      Date Created: 5/16/2024
Case: 1:24−bk−01219−HWV                           Form ID: 309F2                          Total: 61


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Schoffstall Farm, LLC           5790 Devonshire Road            Harrisburg, PA 17112
ust         United States Trustee         US Courthouse           1501 N. 6th St         Harrisburg, PA 17102
tr          Lisa Ann Rynard           Law Office of Lisa A. Rynard           (Trustee)        240 Broad Street       Montoursville, PA
            17754
aty         Joseph P Schalk         DOJ−Ust           1501 N. 6th Street         Box 302        Harrisburg, PA 17102
aty         Robert E Chernicoff          Cunningham and Chernicoff PC              2320 North Second Street         Harrisburg, PA
            17110
smg         Internal Revenue Service           PO Box 7346          Philadelphia, PA 19101−7346
5617211     21 Brix Winery          6654 WEst Main Road             Portland, NY 14769
5617212     Ally Financial        P.O. Box 380902           Minneapolis, MN 55438−0902
5617213     AmeriGas Propane LP             P.O. Box 371473          Pittsburgh, PA 15250−7473
5617214     Anne Marie Laban, Tax Collector             4919−C Jonestown Road            Harrisburg, PA 17109
5617215     Arcona Road Properties II, LP           322 N Arch Street          Lancaster, PA 17603
5617216     BMI         250 Greenwich Street           New York, NY 10007−0030
5617217     Brenda Pickney          4422 Pinewood Court            Harrisburg, PA 17112
5617218     Bruce McCracken            3064 Bricker Road          Manheim, PA 17545
5617219     Buckeye Corrugated Inc.            P.O. Box 412203          Boston, MA 02241−2203
5617220     Bureau of Employer Tax Operations             Labor & Industry Building           651 Boas Street, Room
            702        Harrisburg, PA 17106
5617225     CNH Industrial Capital America            500 Diller Avenue          New Holland, PA 17557
5617226     CNH Industrial Capital America            P.O. Box 71264           Philadelphia, PA 19176−6264
5617221     Cathy GoLightly           615 Wynnewood Road             Ardmore, PA 19003
5617222     Central Leasing         1400 Preston Road           Suite 115        Plano, TX 75093
5617223     Channel Partners          10900 Wayzata Blvd           Suite 300         Minnetonnka, MN 55305
5617224     Charter Homes          322 N Arch Street          Lancaster, PA 17603
5617227     Country Malt         P.O. Box 51602           Los Angeles, CA 90051
5617230     DLL Finance LLC             P.O. Box 14535          Des Moines, IA 50306−3535
5617228     David Krenkle          1380 James Way           Mt. Joy, PA 17582
5617229     Diane Schoffstall         5790 Devonshire Road            Harrisburg, PA 17112
5617231     Evan Schoffstall         304 S 31st Street        Harrisburg, PA 17109
5617232     Fulton Bank         P.O. Box 790408           Saint Louis, MO 63179
5617233     HBK CPA's & Consultants              200 N Warner Road, #210            King of Prussia, PA 19406
5617234     Home Depot          P.O. Box 790420            Saint Louis, MO 63179
5617235     Horizon Farm Credit           15 Eby Chiques Road           Mount Joy, PA 17552
5617236     Internal Revenue Service           Centralized Insolvency Operations          PO Box 7346          Philadelphia, PA
            19101−7346
5617237     John King         85 Beattys Tollgate Road           Marietta, PA 17547
5617238     Leaf Capital Funding          P.O. Box 5066          Hartford, CT 06102−5066
5617239     Linde Gas and Equipment             P.O. Box 382000          Pittsburgh, PA 15250
5617240     Lower Paxton Township Authority              5993 Locust Lane          Harrisburg, PA 17109
5617242     Martin L. Schoffstall         5790 Devonshire Road            Harrisburg, PA 17112
5617241     Martin L. Schoffstall         Childrens Trust        5790 Devonshire Road            Harrisburg, PA 17112
5617243     Marvin Schoffstall          55 Presidents Drive         Mechanicsburg, PA 17050
5617244     Mitsubishi Capital          21925 Network Place          Chicago, IL 60673−1219
5617245     Motion Picture Licensing Corp            5140 W Goldleaf Circle, Suite 103          Los Angeles, CA 90056
5617246     Office of Attorney General           Financial Enforcement Section          Strawberry Square, 15th
            Floor        Harrisburg, PA 17120
5617247     Office of the United States Trustee          1501 North 6th Street         Harrisburg, PA 17102
5617248     PA Department of Revenue             Bureau of Compliance − Bankruptcy             P.O. Box 280946         Harrisburg, PA
            17128−0946
5617249     PPL Electric Utilities        P.O. Box 25222           Lehigh Valley, PA 18002−0522
5617250     Roberts Oxygen           P.O. Box 5509          Rockville, MD 20855
5617251     Ross McCracken            327 Cambridge Lane           Lititz, PA 17543−1364
5617256     SML Outdoor Living Experts             4075 Linglestown Road, #366            Harrisburg, PA 17112
5617252     Schoffstall Associates         5790 Devonshire Road            Harrisburg, PA 17112
5617253     Securities & Exchange Commission              100 Pearl Street, Suite 20−100         New York, NY 10004−2616
5617255     Small Business Administration            Office of General Counsel          409 3rd Street, SW        Washington, DC
            20416
5617254     Small Business Administration            P.O. Box 3918          Portland, OR 97208
5617257     Suzanne Conaboy Scanlon, Esquire              Middle District of Pennsylvania         P.O. Box 309        Scranton, PA
            18501
5617258     Targeted Lease Capital LLC            5500 Main Street          Suite 300        Williamsville, NY 14221
5617259     Tucker Arensburg           1500 One PPG Place           Pittsburgh, PA 15222
5617260     U.S. Department of Justice           P.O. Box 277         Ben Franklin Station         Washington, DC 20044
5617261     UGI Utilities        P.O. Box 15523           Wilmington, DE 19886−5523
5617262     United States Attorney          The Sylvia H. Rambo U.S. Courthouse             1501 North 6th Street        Harrisburg, PA
            17102
5617263     Waterloo Container Company              2311 Route 414          P.O. Box 262         Waterloo, NY 13165
5617264     Welch Foods Inc.           1 Citizens Drive        Riverside, RI 02915

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5617265   White Labs   9495 Candida Street   San Diego, CA 92126
                                                                       TOTAL: 61




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